Entered: December 12th, 2019
                               Case 19-21212        Doc 34    Filed 12/12/19   Page 1 of 1
Signed: December 11th, 2019

SO ORDERED
Failure to appear at the December 4, 2019 hearing. See Dkt. No. 30.




                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF MARYLAND
                                              at Baltimore
                                       In re:   Case No.: 19−21212 − RAG   Chapter: 13

Tyrone A. Taylor
Debtor

                                       ORDER DENYING
                           MOTION TO RECONSIDER ORDER OF DISMISSAL
Upon consideration of the "Motion to Reconsider Dismissal" filed by Debtor Tyrone A. Taylor, it is, by the United
States Bankruptcy Court for the District of Maryland,

ORDERED, that the "Motion to Reconsider Dismissal" is hereby denied.


cc:    Debtor
       Attorney for Debtor − Sheereen Middleton
       All Parties
       All Counsel
       Case Trustee − Robert S. Thomas II

                                                       End of Order
44x01 (rev. 06/19/1998) − jwhitfield
